         Case 1:19-cv-01410-ELH Document 136 Filed 09/24/20 Page 1 of 3
                           THE LAW OFFICES OF
                     JESSIE LYONS CRAWFORD, LLC
                                      2601 MARYLAND AVENUE
                                    BALTIMORE, MARYLAND 21218

                                          OFFICE: 410-662-1230
                                       FACSIMILE 410-662-1238


                                                                                   JESSIE LYONS CRAWFORD, ESQ.
                                                                                   *LICENSED IN MARYLAND




                                        September 24, 2020
VIA ELECTRONIC MAIL
Hon. Deborah L. Boardman, Magistrate Judge
United States District Court of Maryland
101 West Lombard Street
Chambers 3C
Baltimore, Maryland 21201

Re:    Samuel Green vs. AMF Bowling, Inc.
       Case No.: 1:19-CV-01410-ELH

Dear Judge Boardman:

       In accordance with the Court Order ECF No. 134 issued September 23, 2020, Plaintiff is
providing an update regarding the parties ongoing discovery disputes.

MATTER TO BE ADDRESSED BY THE COURT ON September 25, 2020.

Defendant’s Subpoenas.         Defendant correctly notes that Plaintiff withdrew his objections to
the Notices of Intent To Serve Subpoenas to plaintiffs medical providers. Plaintiff, however,
maintains that the Defendant’s subpoenas directed to plaintiff current and former employers is
overly broad and burdensome. Plaintiff objects to these subpoenas as it relates to the following
topics disciplinary records, discharge from employment records, correspondence or handwritten
notes with regard to employment, termination forms and/or any and all correspondence or
documents. The aforementioned topics are not relevant to these proceedings, and not likely to lead
to the discovery of admissible evidence. Defendant stated in its correspondence that Plaintiff was
claiming loss wages, thus, they were entitled to this information. The defendant has failed to
explain how the above-listed topics are relevant to information pertaining to loss wages; plaintiff
would argue that it is not.

Scope and Notice of Corporate Designee Deposition. Defendant objected to ten (10) of
Plaintiff’s topics in his Notice of Deposition of alleging that the topics sought information that was
not reasonably calculated to lead to the discovery of discoverable information and not relevant to
Plaintiff’s claims. The “burden of proof is with the party objecting to the discovery, not the
requestor. See Capital One Bank N.A. v. Hess Kennedy Chtd., 2008 U.S. Dist. LEXIS 76385, at
*4-5 (E.D. Va. Sept. 29, 2008). See Finley v. Trent, 955 F. Supp. 642, 648 (4th Cir. 1997);
Desrosiers v. MAG Indus. Automation Sys., LLC, 675 F. Supp. 2d 598, 601 (D. Md. 2009) (“The
burden is on the party resisting discovery to explain specifically why its objections, including those
based on irrelevance, are proper given the broad and liberal construction of federal discovery


                                “Begin with Believing You Will Succeed “
          Case 1:19-cv-01410-ELH Document 136 Filed 09/24/20 Page 2 of 3
THE LAW OFFICES OF
  JESSIE LYONS CRAWFORD,            LLC



 Hon. Deborah L. Boardman
 September 11, 2020
 Page 2

 rules.”); Tucker v. Ohtsu Tire & Rubber Co., 191 F.R.D. 495, 498 (D. Md. 2000).


 Topic 1 -The general nature of the business of AMF BOWLING, organizational structure as to the
 location of the incident in question, the corporate structure as it relates to the organizational
 structure of structure of the location of the incident, and the specific nature of AMF BOWLING
 activities on the premises with bowling leagues on the date of the accident which is described in
 Plaintiff’s Complaint, related policies, procedures and training.

  Topic 18. Instructions and warnings given to Plaintiff as a league member at any time regarding
 Plaintiff 's activities on the premises on the day of the incident and previous to the day of the
 incident, the form of the instruction, when and how conveyed.

 Topic 19. Conversations and statements by any defense employee or other witnesses directed to
 the Plaintiff or about the Plaintiff regarding Plaintiff’s activities, the accident in question, or
 Plaintiff’s injuries which occurred on the premises or during the investigation of the incident of
 June 5, 2020..

 Topic 23. Inspections of the premises by a designated employee following the incident in question
 and the procedure by which the inspection entailed prior to the incident by 12 months and
 subsequent to the incident in question and the manner of inspections, procedure, safety measures
 of the inspection. Further, what was done? Who did it? Why did they do it? When was it done?
 What orders or reports were made? Note: These inspections are not limited to inspections by AMF
 BOWLING but also include any inspections by outside persons and entities. Examples, without
 limiting the generality of the foregoing, are inspections by government (e.g., OSHA and building
 inspectors); by labor organizations; by attorneys in other lawsuits; by your general casualty, fire,
 or premises insurers, or inspectors hired by the Defendant. Inspections are relevant to these
 proceedings based on Plaintiff’s allegations of gross negligence. To date, Defendant has provided
 no internal inspection reports, despite, upon information and belief that they do in fact exist. If
 there were inspections the subject of which may have placed AMF on notice regarding potential
 unsafe conditions in their facility, which would assist Plaintiff in meeting his burden. This is
 undoubtedly relevant to Plaintiff’s claims; thus, Defendant should be ordered to produce a
 knowledgeable witness to discuss all internal and external inspections. In the intertest of
 expedience, Plaintiff will limit his questioning for the period of January 2011 through June 2015,
 and to the premises which is the subject of Plaintiff’s complaint.

 Topic 24. AMF BOWLING Corporate and the location where the incident occurred, if different,
 policies, guidelines, rules and regulations for the reporting of accidents or collection of data
 regarding accidents on the premises in question, and the identity of all other accidents on the
 premises in the period from July 30, 2010 to the present date. Plaintiff has plead negligence and
 gross negligence as theories of recovery in this case. The aforementioned topic was narrowly
 drafted as to illicit information that may lead to the discovery of admissible evidence in this case,
 to prove indifference to the rights of invitees on its premises. See Proctor v Metro. Money Store
          Case 1:19-cv-01410-ELH Document 136 Filed 09/24/20 Page 3 of 3
THE LAW OFFICES OF
  JESSIE LYONS CRAWFORD,             LLC



 Hon. Deborah L. Boardman
 September 11, 2020
 Page 3

 Corp., 645 F. Supp. 2d 464, 490 (D. Md. 2009) (finding that complaint that “outlined numerous
 irregularities” in the settlement and title documents that defendant had a duty to review, as well as
 in the manner in which money was transferred” adequately pled gross negligent).

 Topic 25. All inspections, after the accident, the person who conducted the inspection, the date of
 the inspection, equipment inspected as the inspections relate to the accident in question.

 Topic 36. The design and construction of the bowling alley, the date of construction, the
 construction of the floor of the lane, type of wood on the floor, the type of oil used on the floor for
 the bowling lane where the incident occurred. The Plaintiff’s Complaint alleges negligent design
 and construction claims.

 Second Request for Production of Documents. On July 30, 2020, Plaintiff propounded his
 Second Request for Production of Documents. Defendant’s responses were due by August 30,
 2020. Defendant has not provided the documents.

 To date, the Defendant has not provided the Affirmation for the Amended Answers to
 Interrogatories.

 Thank you for your time and consideration.

                                                Very truly yours,
                                                THE LAW OFFICES OF
                                                JESSIE LYONS CRAWFORD, LLC


                                                ___________________________
                                                Jessie Lyons Crawford, Esq.
 cc:    Kim Parker, Esquire
        Brigitte J. Smith, Esquire
